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  Health advisory on social media use in
  adolescence




                          New report

                          Potential risks of content, features, and functions: The science of how social media affects youth
                          Almost a year after APA issued its health advisory on social media use in adolescence, society continues to wrestle with
                          ways to maximize the benefits of these platforms while protecting youth from the potential harms associated with them




 Psychological scientists examine potential beneficial and harmful effects of social media a use on
 adolescents’ social, educational, psychological, and neurological development. This is a rapidly
                                                                                                                           Download in PDF format
 evolving and growing area of research with implications for many stakeholders (e.g., youth, parents,                             (435KB)
 caregivers, educators, policymakers, practitioners, and members of the tech industry) who share
 responsibility to ensure adolescents’ well-being. b Officials and policymakers including the U.S.
 Surgeon General Dr. Vivek Murthy have documented the importance of this issue and are
 actively seeking science-informed input . c                                                                     Recommended Reading
 The recommendations below are based on the scientific evidence to date, and the following                                       Children's Book
 considerations.                                                                                                                 How to Handle STRESS for
 A. Using social media is not inherently beneficial or harmful to young people. Adolescents’ lives                               Middle School Success
 online both reflect and impact their offline lives. In most cases, the effects of social media are                              $16.99
 dependent on adolescents’ own personal and psychological characteristics and social
 circumstances—intersecting with the specific content, features, or functions that are afforded
 within many social media platforms. In other words, the effects of social media likely depend on
 what teens can do and see online, teens’ preexisting strengths or vulnerabilities, and the contexts in                          Children's Book
 which they grow up. 3                                                                                                           How to NAVIGATE Middle
                                                                                                                                 School
 B. Adolescents’ experiences online are affected by both 1) how they shape their own social media
                                                                                                                                 $16.99
 experiences (e.g., they choose whom to like and follow); and 2) both visible and unknown features
 built into social media platforms.
 C. Not all findings apply equally to all youth. Scientific findings offer one piece of information that




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 can be usedCase     2:24-cv-00031-RJS-CMR
              along with                                       Document
                          knowledge of specific youths’ strengths, weaknesses,44-15
                                                                               and contextFiled   05/31/24
                                                                                            to make                                  PageID.454
                                                                                                                                         Children's Page
 decisions that are tailored for each teen, family, and community. 4     3 of 12                                                              Book
                                                                                                                                              Stress Less
 D. Adolescent development is gradual and continuous, beginning with biological and neurological
                                                                                                                                              $24.99
 changes occurring before puberty is observable (i.e., approximately beginning at 10 years of age),
 and lasting at least until dramatic changes in youths’ social environment (e.g., peer, family, and
 school context) and neurological changes have completed (i.e., until approximately 25 years of
 age). 5 Age-appropriate use of social media should be based on each adolescent’s level of maturity                                           Children's
 (e.g., self-regulation skills, intellectual development, comprehension of risks) and home                                                    Book
 environment. 6 Because adolescents mature at different rates, and because there are no data                                                  Like Ability
 available to indicate that children become unaffected by the potential risks and opportunities posed                                         $16.99
 by social media usage at a specific age, research is in development to specify a single time or age
 point for many of these recommendations. In general, potential risks are likely to be greater in early
 adolescence—a period of greater biological, social, and psychological transitions, than in late
 adolescence and early adulthood. 7,8
                                                                                                                                    Members may qualify for lower pricing
 E. As researchers have found with the internet more broadly, racism (i.e., often reflecting
 perspectives of those building technology) is built into social media platforms. For example,
 algorithms (i.e., a set of mathematical instructions that direct users’ everyday experiences down to
 the posts that they see) can often have centuries of racist policy and discrimination encoded. 9
 Social media can become an incubator, providing community and training that fuel racist hate. 10
 The resulting potential impact is far reaching, including physical violence offline, as well as threats
 to well-being. 11
 F. These   recommendations are based on psychological science and related disciplines at the time of
 this writing (April 2023). Collectively, these studies were conducted with thousands of adolescents
 who completed standardized assessments of social, behavioral, psychological, and/or neurological
 functioning, and also reported (or were observed) engaging with specific social media functions or
 content. However, these studies do have limitations. First, findings suggesting causal associations
 are rare, as the data required to make cause-and-effect conclusions are challenging to collect
 and/or may be available within technology companies, but have not been made accessible to                                      Science Spotlight
 independent scientists. Second, long-term (i.e., multiyear) longitudinal research often is
 unavailable; thus, the associations between adolescents’ social media use and long-term outcomes                               Get the most relevant news and
 (i.e., into adulthood) are largely unknown. Third, relatively few studies have been conducted with                             information for psychological scientists
 marginalized populations of youth, including those from marginalized racial, ethnic, sexual, gender,                           delivered to your inbox every two weeks
 socioeconomic backgrounds, those who are differently abled, and/or youth with chronic
 developmental or health conditions.                                                                                            First Name


                                                                                                                                Last Name


                                                                                                                                Email Address




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 a These recommendations do not address the use of all technology among youth, including educationally-based platforms
 or digital interventions that use evidence-based approaches to promote adaptive health outcomes. Rather, these
 recommendations reflect the literature on social media specifically, which is defined as technologically-based applications,
 platforms, or communication systems using online architecture that promotes asynchronous, unilateral, permanent, public,
 continually-accessible, social cue-restricted, quantifiable, visually-based, or algorithmic-based social interactions. 1,2
 b These recommendations enact policies and resolutions approved by the APA Council of Representatives including the APA
 Resolution on Child and Adolescent Mental and Behavioral Health (PDF, 72KB)     and the APA Resolution on Dismantling
 Systemic Racism in contexts including social media. These are not professional practice guidelines but are intended to
 provide information based on psychological science.
 c The U.S. Surgeon General released an advisory in 2021 (PDF, 1MB) focused on protecting youth mental health that
 recognizes the importance of examining the impacts of social media on children.




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 Recommendations                                              4 of 12
 1. Youth using social media should be encouraged to use functions that create
                                                                                                           Speaking of Psychology
                                                                                                           Subscribe to APA’s audio podcast series
 opportunities for social support, online companionship, and emotional intimacy                            highlighting some of the most important and
 that can promote healthy socialization
                                                                                                           relevant psychological research being
 Data suggest that youths’ psychological development may benefit from this type of online social
                                                                                                           conducted today.
 interaction, particularly during periods of social isolation, when experiencing stress, when seeking
 connection to peers with similar developmental and/or health conditions, and perhaps especially            Subscribe to Speaking of Psychology and
 for youth who experience adversity or isolation in offline environments. 12, 13,14,15                                   download via:
 Youth with symptoms of mental illness, such as adolescents with social anxiety, depression, or                               Apple
 loneliness, for instance, may benefit from interactions on social media that allow for greater control,
 practice, and review of social interactions. 16 Unfortunately, these populations may also be at higher
 risk for some of the negative facets of social media use as discussed below. 17
                                                                                                                             Spotify
 Social media offers a powerful opportunity for socialization of specific attitudes and behaviors,
 encouraging adolescents to follow the opinions and prosocial acts of others. 18 The discussion of
 healthy behaviors online can promote or reinforce positive offline activity and healthy outcomes.
 Social media may be psychologically beneficial particularly among those experiencing mental
 health crises, 19 or members of marginalized groups that have been disproportionately harmed in
 online contexts. For instance, access to peers that allows LGBTQIA+ and questioning adolescents to
 provide support to and share accurate health information with one another is beneficial to
 psychological development, and can protect youth from negative psychological outcomes when
 experiencing stress. 20 This may be especially important for topics that adolescents feel reluctant to
 or are unable to discuss with a parent or caregiver.




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                                                                                                            more.

                                                                                                            First Name


                                                                                                            Last Name
 2. Social media use, functionality, and permissions/consenting should be tailored to
 youths’ developmental capabilities; designs created for adults may not be
 appropriate for children.
                                                                                                            Email Address
 Specific features (e.g., the “like” button, recommended content, unrestricted time limits, endless
 scrolling) and notices/alerts (e.g., regarding changes to privacy policies) should be tailored to the
 social and cognitive abilities and comprehension of adolescent users. 21 As one example,
 adolescents should be informed explicitly and repeatedly, in age-appropriate ways, about the
 manner in which their behaviors on social media may yield data that can be used, stored, or shared            Subscribe
 with others, for instance, for commercial (and other) purposes.

 3. In early adolescence (i.e., typically 10–14 years), adult monitoring (i.e., ongoing
 review, discussion, and coaching around social media content) is advised for most
 youths’ social media use; autonomy may increase gradually as kids age and if they
 gain digital literacy skills. However, monitoring should be balanced with youths’
 appropriate needs for privacy.
 Brain regions associated with a desire for attention, feedback, and reinforcement from peers
 become increasingly sensitive beginning in early adolescence, and regions associated with mature
 self-control are not fully developed until adulthood. 5 Parental monitoring (i.e., coaching and
 discussion) and developmentally appropriate limit-setting thus is critical, especially in early
 adolescence.
 Adults’ own use of social media in youths’ presence should also be carefully considered. Science
 demonstrates that adults’ (e.g., caregivers’) orientation and attitudes toward social media (e.g.,
 using during interactions with their children, being distracted from in-person interactions by social
 media use) may affect adolescents’ own use of social media.




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 Preliminary Case
             research2:24-cv-00031-RJS-CMR
                       suggests that a combination of 1) socialDocument       44-15
                                                                media limits and           Filed
                                                                                  boundaries,     05/31/24
                                                                                              and 2)         PageID.456   Page
 adult–child discussion and coaching around social media use, leads to the5 of
                                                                             best12outcomes for
 youth. 22




 4. To reduce the risks of psychological harm, adolescents’ exposure to content on
 social media that depicts illegal or psychologically maladaptive behavior, including
 content that instructs or encourages youth to engage in health-risk behaviors, such
 as self-harm (e.g., cutting, suicide), harm to others, or those that encourage eating-
 disordered behavior (e.g., restrictive eating, purging, excessive exercise) should be
 minimized, reported, and removed; 23 moreover, technology should not drive users to
 this content.
 Evidence suggests that exposure to maladaptive behavior may promote similar behavior among
 vulnerable youth, and online social reinforcement of these behaviors may be related to increased
 risk for serious psychological symptoms, even after controlling for offline influences. 24
 Reporting structures should be created to easily identify harmful content, and ensure it is
 deprioritized or removed.

 5. To minimize psychological harm, adolescents’ exposure to “cyberhate” including
 online discrimination, prejudice, hate, or cyberbullying especially directed toward a
 marginalized group (e.g., racial, ethnic, gender, sexual, religious, ability status), 22 or
 toward an individual because of their identity or allyship with a marginalized group
 should be minimized.
 Research demonstrates that adolescents’ exposure to online discrimination and hate predicts
 increases in anxiety and depressive symptoms, even after controlling for how much adolescents are
 exposed to similar experiences offline. 25 Similarly, research indicates that as compared to offline
 bullying, online bullying and harassment can be more severe, and thus damaging to psychological
 development. 26–28 In other words, both online cyberhate and offline bullying can increase risk for
 adolescent mental health problems. Research suggests elevated risks both for the perpetrators and
 victims of cyberhate. 29,30
 Adolescents should be trained to recognize online structural racism and critique racist messages.
 Research shows that young people who are able to critique racism experience less psychological
 distress when they witness race-related traumatic events online. 25 As noted above, adults’
 monitoring and active discussion of online content can also reduce the effects of exposure to
 cyberhate on adolescents’ psychological adjustment. 22




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                                                              6 of 12 social media
 6. Adolescents should be routinely screened for signs of “problematic
 use” that can impair their ability to engage in daily roles and routines, and may
 present risk for more serious psychological harms over time.
 Indicators of problematic social media use include

      a tendency to use social media even when adolescents want to stop, or realize it is interfering
      with necessary tasks
      spending excessive effort to ensure continuous access to social media
      strong cravings to use social media, or disruptions in other activities from missing social
      media use too much
      repeatedly spending more time on social media than intended
      lying or deceptive behavior to retain access to social media use
      loss or disruption of significant relationships or educational opportunities because of media
      use 31

 Social media use should not restrict opportunities to practice in-person reciprocal social
 interactions, and should not contribute to psychological avoidance of in-person social interactions.

 7. The use of social media should be limited so as to not interfere with adolescents’
 sleep and physical activity.
 Research recommends adolescents get at least eight hours of sleep each night 32 and maintain
 regular sleep-wake schedules. Data indicate that technology use particularly within one hour of
 bedtime, and social media use in particular, is associated with sleep disruptions. 33,34 Insufficient
 sleep is associated with disruptions to neurological development in adolescent brains, teens’
 emotional functioning, 35,36 and risk for suicide. 37,38
 Adolescents’ social media use also should not interfere with or reduce adolescents’ opportunities
 for physical activity and exercise. 39 Research demonstrates that physical activity is essential for
 both physical and psychological health (i.e., lower rates of depression). 40




 8. Adolescents should limit use of social media for social comparison, particularly
 around beauty- or appearance-related content.
 Research suggests that using social media for social comparisons related to physical appearance,
 as well as excessive attention to and behaviors related to one’s own photos and feedback on those
 photos, are related to poorer body image, disordered eating, and depressive symptoms, particularly
 among girls. 41,42,43,44,45,46

 9. Adolescents’ social media use should be preceded by training in social media
 literacy to ensure that users have developed psychologically-informed competencies
 and skills that will maximize the chances for balanced, safe, and meaningful social
 media use.
 Emerging science offers preliminary support for the efficacy of Digital Citizenship and Digital
 Literacy 47 to increase the frequency of positive interactions online; however, more research is
 needed in this area. 48
 Additional competencies could also include:


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            Casethe2:24-cv-00031-RJS-CMR
      questioning                                         Document
                    accuracy and representativeness of social            44-15
                                                              media content               Filed 05/31/24    PageID.458     Page
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      understanding the tactics used to spread mis- and disinformation
      limiting “overgeneralization” and “misestimation” errors that lead users to incorrectly estimate
      others’ behaviors or attitudes based on social media content (or reactions to content)
      signs of problematic social media use
      how to build and nourish healthy online relationships
      how to solve conflicts that can emerge on social media platforms
      how to refrain from excessive social comparisons online and/or better understand how
      images and content can be manipulated
      how to recognize online structural racism and critique racist messages
      how to safely communicate about mental health online 49




 10. Substantial resources should be provided for continued scientific examination of
 the positive and negative effects of social media on adolescent development.
 A substantial investment in research funding is needed, including long-term longitudinal research,
 studies of younger children, and research on marginalized populations.
 Access to data among independent scientists (including data from tech companies) to more
 thoroughly examine the associations between social media use and adolescent development        is
 needed.




 APA related resources




  Press release                          Tip sheet                               Q&A                           Podcast
  APA panel issues                       Keeping teens safe on                   How to teach social           How social media affects
  recommendations for                    social media: What                      media literacy to teens:      teens’ mental health,
  adolescent social media                parents should know to                  A Q&A with Mitch              with Jacqueline Nesi,
  use                                    protect their kids                      Prinstein, PhD                PhD



 Expert advisory panel
 Co-chairs

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